Case 6:20-cr-00034-CEM-EJK Document 47 Filed 12/03/20 Page 1 of 2 PageID 296




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

  UNITED STATES OF AMERICA

  v.                                       CASE NO. 6:20-cr-34-Orl-41EJK

  CARL STUART FAREY

                               MOTION TO SEAL

        The United States of America, by Maria Chapa Lopez, United States

  Attorney for the Middle District of Florida, requests that this Court seal the

  Government's In Camera exhibit one and exhibit two to the United States

  Response in opposition to the defendant’s motion for compassionate release.

        The sealing of these exhibits is requested in order to safeguard from public

  scrutiny the defendant’s medical information which would come to light were the

  motion to become public knowledge either by way of reports published in the

  media, or otherwise.

                                           Respectfully submitted,

                                           MARIA CHAPA LOPEZ
                                           United States Attorney

                                    By:    /s/Amanda S. Daniels
                                           Amanda S. Daniels
                                           Assistant United States Attorney
                                           FL Bar No. 111444
                                           400 W. Washington Street, Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           E-mail: amanda.daniels@usdoj.gov
Case 6:20-cr-00034-CEM-EJK Document 47 Filed 12/03/20 Page 2 of 2 PageID 297




  U.S. v. CARL FAREY                            Case No. 6:20-cr-34-Orl-41EJK


                           CERTIFICATE OF SERVICE

        I hereby certify that on December 3, 2020, a true and correct copy of the

  foregoing document and the notice of electronic filing was sent by United States

  Mail to the following non-CM/ECF participant(s):

  Carl Farey
  Register No. 73260-018
  FCI Terminal Island
  Federal Correctional Institution
  P.O. Box 3007
  San Pedro, CA 90731




                                     By:   /s/Amanda S. Daniels
                                           Amanda S. Daniels
                                           Assistant United States Attorney
                                           FL Bar No. 111444
                                           400 W. Washington Street, Suite 3100
                                           Orlando, Florida 32801
                                           Telephone: (407) 648-7500
                                           Facsimile: (407) 648-7643
                                           E-mail: amanda.daniels@usdoj.gov




                                           2
